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UNITED STATES FEDERAL COURT FOR THB DISTRICT OF MASSACHUSETTS
CIVIL DOCKET NO: l:lS-cv- l 3656-JGD

 

ANDRE BISASOR
PLAINTIFF,

V.

DONNA ASHTON; ASHTON LAW PC,
DEFENDANTS

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MOTION AND STATUS REP()RT

This is a status update to inform the court that the settlement terms have not yet been concluded The parties
are still in the process of executing all of the terms. Given the number of courts involved and the number of
steps that need to be taken, opposing counsel has indicated the need for additional time to complete all of the
Steps necessary to conclude the settlements terms (as Was previously confirmed in the email communications
attached to the last update). The plaintiff requests a final 60 days extension on the nissi-order in order to
allow for the settlement terms to be completed

Respectfully submitted,

Plaintiff Andre Bisasor

Da.ted; July 25, 2018

 

 

